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 6
 7                                 UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                            Case No.: 1:13-CR-00362-AWI-BAM
11                    Plaintiff(s),                       ORDER ON DEFENDANT’S
                                                          REQUEST FOR ADA
12           v.
                                                          ACCOMMODATIONS
13   LOUIE CALLES,

14                    Defendant(s).
                                                          Judge: HON. ANTHONY W. ISHI
15                                                        Dept.: 2

16
17                     Based upon Defendant’s Motion and good cause appearing:

18                     IT IS ORDERED that the ADA Accommodations requested by the Defendant

19   as set forth by Dr. Karin Huffer and delineated below are:

20                     (1) Mr. Calles may appear at his trial from a distance or in a sequestered room
                           if he is unable to sustain the rigors of trial.
21
22
23        [ ] Granted     [ X ] Denied But subject to knowing and intelligent waiver of
          personal presence.
24
25                     (2) Mr. Calles must be allowed to take frequent breaks as needed during the
                       proceedings.
26
27
28        [ ] Granted          [ X ] Denied But see above # (1)

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                               ORDER ON DEFENDANT’S REQUEST FOR ADA ACCOMMODATIONS
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 2
 3                         (3) Mr. Calles may have a trained advocate available to monitor medication
                               regimen and observe symptoms and needed interventions.
 4
 5
 6        [ ] Granted          [ X ] Denied While court is in session. But see above # (1)
 7
                           (4) During testimony Mr. Calles may have his advocate available, when
 8                             needed, to interpret questions for him if he struggles with receptive
                               speech and communication.
 9
10
           [ ] Granted          [ X ] Denied
11
12   IT IS SO ORDERED.

13   Dated:     October 13, 2015
                                                    SENIOR DISTRICT JUDGE
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                               ORDER ON DEFENDANT’S REQUEST FOR ADA ACCOMMODATIONS
